Case 1:23-mi-99999-UNA Document 2907-19 Filed 09/08/23 Page 1 of 2

RECALLED WARRANT

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA
CASE NUMBER: WARRANT NUMBER:
F-21850-22

Request for Recall of Arrest Warrant
Date: 01/04/2023

Suspect Name:

ARMANDO JACOB WILLIAMS
BLACK/AFRICAN AMERICAN, MALE

3339 Bruxelles St,New Orleans Louisiana 70122

Charge(s):

1 Count of 14:71.1--BANK FRAUD-- (Felony)
1 Count of 14:67.16 C(1-3)--Identity Theft (Felony)-- (Felony)
1 Count of 14:67 B3--Theft $1000 but less than $5000 (Felony)-- (Felony)

I, Detective Andrew R Bartholomew, am respectfully requesting that the ARREST
WARRANT issued for ARMANDO JACOB WILLIAMS be recalled for the following

reason(s):
Further Investigation

Respectfully submitted, Given under my official signature, this 04 day of
Jan, 2023 at 01:04 PM.

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Detective Andrew R Bartholomew Judge Paul Schneider

Jefferson Parish Sheriff's Office 24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

PLAINTIFF'S

Case Number: F-21850-22 Warrant Number: Approved on: Jul, 19, 2022 at 04:19 PM "1e.

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RECALLED WARRANT
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA
ITEM NUMBER: WARRANT NUMBER:
F-21850-22
ARREST WARRANT
STATE OF LOUISIANA

VERSUS
ARMANDO JACOB WILLIAMS - BLACK/AFRICAN AMERICAN/MALE

3339 Bruxelles St New Orleans, Louisiana 70122
DOB: 03/23/2001

DLAD #: SSN: XXX-XX-XXXX
Height: Weight: 130

Eye Color: Brown Hair Color: Black
D/M:

TO ANY COMMISSIONED PEACE OFFICER:
WHEREAS, complaint has been made to me, upon the sworn affidavit of Detective Andrew R
Bartholomew, with the Jefferson Parish Sheriff's Office, charging one Armando Jacob Williams with:

1 Count(s) of 14:71.1-- BANK FRAUD-- (Felony)
1 Count(s) of 14:67.16 C(1-3)-- Identity Theft (Felony)-- (Felony)
1 Count(s) of 14:67 B3-- Theft $1000 but less than $5000 (Felony)-- (Felony)

Committed on or about the date(s) of 06-23-2022.

Now, therefore, you are hereby commanded, in the name of the State, to apprehend and arrest and book the
said accused to answer the said complaint. You are further commanded to keep the said accused in safe

custody until released according to law, and this shall be your warrant.

Given under my official signature, this 19 day of Jul, 2022 at 04:19 PM.

fae, Se ea ot
Judge Paul Schneider
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON

STATE OF LOUISIANA

Case Number: F-21850-22 Warrant Number: Approved on: Jul, 19, 2022 at 04:19 PM
